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                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS


IN RE BROILER CHICKEN ANTITRUST
                                                       Case No.: 1:16-cv-08637
LITIGATION
                                                       Judge Thomas M. Durkin
This Document Relates To:
                                                       Magistrate Judge Jeffrey T. Gilbert
Chick-fil-A, Inc. v. Agri Stats, Inc. et al.,
20-cv-7205



  DIRECT-ACTION PLAINTIFF CHICK-FIL-A, INC.’S SUPPLEMENTAL BRIEF IN
 SUPPORT OF ITS MOTION TO PARTIALLY RECONSIDER THE SEPTEMBER 22,
       2020 ORDER AND OBJECTION TO MAGISTRATE JUDGE’S MAY 7
                       AND MAY 13, 2021 ORDERS

        On May 27, 2021, the Court requested a supplemental brief from Direct Action Plaintiff

Chick-fil-A on certain aspects of its motion to reconsider the Court’s bifurcation of what it

characterizes as the “supply reduction and Georgia Dock claims” from the “bid-rigging claims,”

in light of the U.S. Supreme Court’s holding in Continental Ore Co. v. Union Carbide & Carbon

Corp. In so doing, the Court recognized the general applicability of Continental Ore, but requested

further briefing on how that principle “applies across the distinct conspiratorial goals alleged in

the complaints (i.e., conspiracy to reduce supply, conspiracy to fix Georgia Dock, conspiracy to

rig contract bids), when all the alleged goals are illegal in-and-of themselves.” May 27 Order,

ECF No. 4722 at 2. If proof of each conspiratorial goal “could be sufficient to establish separately

liability for one or more of the conspiratorial goals, and trying them together cannot establish

liability without one of the conspiracies being proven,” the Court stated that it was “unclear why

it is legal error to discover and try them separately.” Id. at 2-3. As a result, the Court concluded

a supplemental brief containing “more granular argument addressing these concerns” would be

helpful. Id. at 3.


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       Chick-fil-A appreciates the Court’s guidance on a key legal issue governing the case and

the opportunity to provide additional argument to address the Court’s questions. Chick-fil-A also

recognizes the unique challenges presented by this complex antitrust litigation, which has been

litigated during a global pandemic and has proceeded alongside a parallel and rapidly evolving

U.S. Department of Justice investigation and criminal proceeding. Chick-fil-A understands that

the September 22, 2020 bifurcation order was an attempt to creatively address these challenges.

Nonetheless, Chick-fil-A believes that the bifurcation order has created some unforeseen and

unintended consequences. This motion for partial reconsideration attempts to highlight those

issues for the Court’s consideration and suggests a slightly modified path that avoids those

consequences while still addressing the concerns underlying the bifurcation order.

       As it understands the Court’s thinking, Chick-fil-A believes it is possible that the Court

may be discounting the importance of Chick-fil-A and other DAPs’ allegation of a single,

overarching conspiracy, which is reflected in Count One of the DAP Consolidated Amended

Complaint (“CAC”). Specifically, the language in the Court’s May 27 Order seems to be premised

on the notion that Chick-fil-A and other DAPs are bringing three separate and distinct conspiracy

“claims” when, in fact, the primary allegation in the CAC is a single overarching conspiracy to

raise prices. Indeed, for some DAPs, that is the only antitrust conspiracy claim in the case. To be

sure, many DAPs, including Chick-fil-A, have also pled separate conspiracies in the alternative.

But the only common claim across all DAPs—and the one that will need to be adjudicated to

resolve the DAP cases—is Count One of the CAC. For that reason, Chick-fil-A believes it would

be helpful to provide some background on the claims before addressing the Court’s questions

within the established framework set forth by the Seventh Circuit for assessing bifurcation

decisions under Rule 42.



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                                           BACKGROUND

        The primary allegation in all the DAP cases is that Defendants engaged in a single,

overarching conspiracy to raise prices to customers. 1 Specifically, in Count One of the CAC, the

DAPs allege that, from at least as early as January 1, 2008 and continuing until at least as late as

2019, Defendants entered into a conspiracy “to fix, raise, stabilize, and maintain prices of chicken

meat throughout the United States.” 2 This multi-faceted conspiracy was implemented by various

means and manifested itself in many different ways. 3 For example:

       Defendants coordinated unprecedented cuts in the supply of broiler chickens. 4
       Defendants shared confidential and competitively sensitive information regarding
        production, capacity and pricing through intermediaries such as Agri-Stats, under the
        cover of M&A activity, and during discussions about sale/purchase transactions with
        each other. 5
       Defendants further restricted broiler chicken supply through so-called strategic alliances
        and joint ventures, including the Tip Top Alliance and Southern Hens. 6
       Defendants coordinated direct purchases of broiler chickens from one another and from
        smaller producers in order to soak up excess supply that could potentially depress market
        prices, including the adoption of “Buy vs. Grow” strategies. 7
       Defendants exported hatching eggs to Mexico and other foreign countries against their
        own self-interest with the intent to artificially reduce the supply and increase the price of
        broiler chickens in the U.S. 8
       Defendants created and controlled the Georgia-Dock pricing index for their own benefit and
        then collusively and fraudulently manipulated it in order to raise prices to customers. 9



        1
          CAC ¶¶ 1, 1032-43.
        2
          CAC ¶ 1. The pleading of a single, overarching conspiracy is not unusual. Indeed, in its
Superseding Indictment, the DOJ also pled a single-count violation of the Sherman Act involving a
“conspiracy to suppress and eliminate competition by rigging bids and fixing prices and other price-related
terms for broiler chicken products sold in the United States.” Superseding Indictment at 2, U.S. v. Jayson
Penn, et al., 20-CR-152-PAB (D. Colo.) (Oct. 6, 2020), ECF No. 101.
        3
          CAC ¶8 (“Defendants used multiple means to sustain their conspiracy/conspiracies”); CAC ¶ 335
(“Defendants used multiple means to sustain the conspiracy/conspiracies described in this Complaint.”).
        4
          E.g., CAC ¶¶ 337-544
        5
          E.g., CAC ¶¶ 937-997.
        6
          E.g., CAC ¶¶ 881-896
        7
          E.g., CAC ¶¶ 917-936
        8
          E.g., CAC ¶¶ 932-936
        9
          E.g., CAC ¶¶ 587-839

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       Defendants coordinated a move away from annual fixed-price contracts to contracts
        permitting price fluctuations with public market price indices that could be
        manipulated. 10
       Defendants coordinated denials of letters of credit requested by customers. 11
       Defendants rigged bids submitted for broilers sold to restaurants, retailers, and other
        contract purchasers through multiple avenues, including the exchange of confirmation
        information with each other regarding the bids they were submitting, or intended to
        submit, so that all supposedly competitive bids were aligned. 12

       Defendants used a false supply reduction narrative with regard to small bird broilers as
        well as the artificially inflated Georgia Dock index to justify submitting higher bids and
        charging higher prices to contract-based customers. 13

Each of these actions represented unique and inter-related acts in furtherance of the overarching

conspiracy, but all shared the same overall objective of raising the prices of broiler chickens.14

Indeed, as the Court has already recognized, Chick-fil-A and other DAPs are alleging that all of

the aforementioned conduct had “the same goal of maintaining a high price for Broilers” and each

of the acts described in the complaint were simply “means to the same end of manipulating Broiler

prices.” See Bifurcation Order, ECF No. 3835 at 4, 7. 15

        The Seventh Circuit has held that, in order to show an antitrust conspiracy, plaintiffs must

prove that the conspirators “had a conscious commitment to a common scheme designed to achieve

an unlawful objective.” Marion Healthcare, LLC v. Becton Dickinson & Co., 952 F.3d 832, 841

(7th Cir. 2020). Accordingly, because the Court has already determined that each aspect of the

conspiracy alleged in Count One had the “same goal” and thus a common conspiratorial purpose,

it is all part of a single, unitary conspiracy. See, e.g., U.S. v. Sababu, 891 F.2d 1308, 1324 (7th


        10
           E.g., CAC ¶¶ 906-915
        11
           E.g., CAC ¶ 916
        12
           E.g., CAC ¶¶ 840-853
        13
           E.g., CAC ¶571- 573, 838-839.
        14
           CAC ¶8 (“While Defendants may have utilized multiple avenues, they all had the common
objective of disrupting free market competition to harm Plaintiffs.”).
        15
           Notably, the Court’s question regarding the effect on bifurcation if the goals of the three allegedly
separate conspiracies were “distinct” is contradicted by its express finding in the bifurcation order itself
that each aspect of alleged conspiracy had the “same goal.”

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Cir. 1989) (“as long as [Defendants] knowingly embraced the same criminal objective, they

participated in a single conspiracy”); U.S. v. Paiz, 905 F.2d 1014, 1020 (7th Cir. 1990) (a single

conspiracy exists if “there is one overall agreement among various parties to perform different

functions in order to carry out the objectives of the conspiracy”) (citations omitted).

        Some DAPs have also pled different conspiracies in the alternative under Rule 8(d)(2).16

Chick-fil-A, for example, has joined in Count II (supply restriction) and Count III (Georgia Dock)

of the CAC against all Defendants and has also brought its own Count LIII (bid rigging) against

certain Defendants. 17 Each one of these counts was specifically “plead in the alternative to Count

I.” 18 Other DAPs have also brought claims under Section 1 of the Sherman Act in the alternative

that are premised on slightly different theories or include a slightly different group of Defendants. 19

All of these claims, however, are expressly labeled as being pled in the alternative and are

secondary to the primary allegation brought by all DAPs in this case: Count One.




        16
            It is well established under Federal Rule of Civil Procedure 8 that parties may plead in the
alternative. Fed. R. Civ. P. 8(d)(2); Indianapolis Airport Auth. v. Travelers Prop. Cas. Co. of Am., 849
F.3d 355, 366 (7th Cir. 2017) (Federal Rules allow “alternative and even inconsistent pleadings”); Mizuho
Corp. Bank (USA) v. Cory & Assocs., Inc., 341 F.3d 644, 651 (7th Cir. 2003) (“There is generally nothing
wrong with alternative pleading”). The fact that some DAPs chose to do so here, therefore, cannot be used
against those DAPs. See Alper v. Altheimer & Gray, 257 F.3d 680, 687 (7th Cir. 2001); Sandee’s Catering
v. Agri Stats, Inc., 2021 WL 963812, at *7 (N.D. Ill. Mar. 15, 2021). Many cases, like this one, involve
offenses and lesser-included offenses pled in the alternative, but that does not mean that a court can use the
presence of the lesser-included offenses to deprive the plaintiff of a right to jury trial on the overarching
offence. See Estate of McIntosh v. City of Chi., 2015 WL 5164080, at *9 (N.D. Ill. Sept. 2, 2015) (judicial
economy concerns supporting bifurcation not sufficient “when weighed against the fact that the plaintiff is
the master of her complaint”).
         17
            CAC at 44, 318, 321.
         18
            Id.
         19
            CAC at Count LIV & LV.

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                                           ARGUMENT

   I.      THE PRIMARY CAUSE OF ACTION IN THIS CASE—COUNT ONE—
           CANNOT BE DISMEMBERED AND SPLIT INTO THREE SEPARATE
           CLAIMS

        Chick-fil-A’s Motion explains that the Court’s bifurcation of what it characterized as the

“bid rigging” claims from the “market manipulation” claims unintentionally built error into the

schedule of the case by both “dismembering” and “compartmentalizing” Count One of the CAC

in violation of Continental Ore v. Union Carbide & Carbon Corp., 370 U.S. 690 (1962). The

Court’s May 27 Order, however, stated that it did not see how the Continental Ore principle

“applies across the distinct conspiratorial goals alleged in the complaints (i.e., conspiracy to reduce

supply, conspiracy to fix Georgia Dock; conspiracy to rig contract bids), when all the alleged goals

are illegal in-and-of themselves.” May 27 Order at 2. Chick-fil-A understands the Court to be

suggesting that because each allegedly distinct conspiratorial goal and/or act alleged by Plaintiffs,

if proved, would be illegal standing alone, then the Court has the authority and discretion to

bifurcate one aspect of the conspiracy—bid rigging—as a case management matter without

running afoul of Continental Ore. Similarly, the Court expressed the view that it was unclear why

it would be legal error to split Count One into what it characterized as separate claims because

“trying them together cannot establish liability without one of the conspiracies being proven.” Id.

at 3. Finally, the Court stated that it “does not see how evidence of bid rigging is relevant to or

necessary to prove a supply reduction conspiracy or a Georgia Dock conspiracy.” Id.

        The touchstone for any detailed analysis of bifurcation is Rule 42. As the Court recognizes,

Rule 42(b) authorizes courts to order a separate trial of one or more “separate issues [or] claims”

in the interests of judicial economy and to avoid prejudice. Fed. R. Civ. Proc. 42(b). While this

Rule obviously gives the Court some discretion, bifurcation remains “the exception, not the rule,”

and it should not be ordered “unless such a disposition is clearly necessary.” Batchelor v. City of

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Chi., 2021 WL 825607, at *2 (N.D. Ill. Mar. 4, 2021) (citations omitted). Indeed, the Advisory

Committee Notes to Rule 42 underscores that “separation of issues for trial is not to be routinely

ordered,” Challenge Aspen v. King World Prods. Corp., 2001 WL 1403001, at *2 (N.D. Ill. Nov.

9, 2001), and the Wright & Miller treatise likewise emphasizes that “the piecemeal trial of separate

issues in a single lawsuit is not to be the usual course.” 9 Charles A. Wright & Arthur R. Miller,

Federal Practice & Procedure: Civil 2d §2388 (1995). This is because a single trial “generally

tends to lessen the delay, expense, and inconvenience to all concerned.” THK Am., Inc. v. NSK

Co., 151 F.R.D. 625, 631 (N.D. Ill. 1993). See also Bouto v. Guevara, 2020 WL 956294, at *1

(N.D. Ill. Feb. 27, 2020) (rejecting bifurcation because “litigating a case in a piecemeal fashion is

likely to cause delay”).

       The party seeking bifurcation typically bears the burden of establishing that bifurcation is

proper. White v. Coventry Health Care, Inc., 2018 WL 1469025, at *3 (N.D. Ill. Mar. 26, 2018).

In assessing whether the party has carried that burden, the Seventh Circuit has required courts to

engage in a three-step analysis:

               First, the trial judge must determine whether separate trials would
               avoid prejudice to a party or promote judicial economy. Only one
               of these criteria—avoidance of prejudice or judicial economy—
               need be met before a court can order separation. Next, the court must
               be satisfied that the decision to bifurcate does not unfairly prejudice
               the non-moving party. Finally, separate trials must not be granted if
               doing so would violate the Seventh Amendment.

Houseman v. U.S. Aviation Underwriters, 171 F.3d 1117, 1121 (7th Cir. 1999) (citations omitted).

In weighing the competing equities under Rule 42(b), however, courts have emphasized that the

plaintiff “is the master of her complaint,” Awalt v. Marketti, 2012 WL 1161500, at *10 (N.D. Ill.

Apr. 9, 2012), and recognized that courts should also “remain mindful of the traditional role of the

factfinder; i.e. to make an ultimate determination on the basis of a case presented in its entirety.”

Real v. Bunn-O-Matic Corp., 195 F.R.D. 618, 620 (N.D. Ill. 2000).

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       The Houseman bifurcation analysis was only partially conducted in the Bifurcation Order.

The Court determined sua sponte that bifurcation was necessary “in order to expedite and

economize the process of bringing the supply reduction and Georgia Dock claims to resolution.”

Bifurcation Order at 6. In so doing, the Court conducted the first step in the Houseman analysis

and determined on its own that judicial economy would be promoted by bifurcation. However,

the Court stopped its analysis there and never considered step two. This is important because,

“even if bifurcation might somehow promote judicial economy, courts should not order separate

trials when bifurcation would result in unnecessary delay, additional expense, or some other form

of prejudice.” Real, 195 F.R.D. at 620. Indeed, numerous courts have recognized that prejudice

to the party opposing bifurcation “is the Court’s most important consideration.” Id. at 621.

Consequently, in those rare cases in which motions to bifurcate have been granted, “the facts and

circumstances were such that bifurcation lent itself to judicial economy while not unduly

prejudicing any party.” Id. Similarly, the Bifurcation Order did not address step three of the

Houseman analysis and consider the significant Seventh Amendment issues raised by the

bifurcation.

       Once the full Houseman analysis is conducted, it is clear that bifurcation is unwarranted

and inappropriate. Courts in this district typically only employ bifurcation in those situations

“where experience has demonstrated its worth.” Challenge Aspen v. King World Prods. Corp.,

2001 WLl 1403001, at *2 (N.D. Ill. Nov. 9, 2001) (citations omitted). As the Seventh Circuit has

recognized, these situations tend to be limited to scenarios in which there is “a discrete, potentially

dispositive issue.” All EMS Inc. v. 7-Eleven Inc., 181 F.App’x 551, 559 (7th Cir. 2006). See also

Vichare v. Ambac Inc., 106 F.3d 457, 466 (2d Cir. 1996) (rejecting bifurcation and distinguishing

instances in which “the evidence offered on two different issues will be wholly distinct" or where



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trying “one issue may obviate the need to try another issue”). But no court in this district has ever

sanctioned the bifurcation of a single cause of action alleging an overarching antitrust conspiracy

into trials of separate aspects of that conspiracy where, as here, the Court has already determined

that those aspects “extensive[ly] overlap,” had the “same goal,” are “means to the same end,” are

“thoroughly intertwined,” and are “closely related” without any “material differences.”

Bifurcation Order at 4-7. If anything, the only relevant judicial experience rejects bifurcation in

this circumstance. See, e.g., Advanced Microtherm, Inc. v. Norman Wright Mech., 2009 WL

2136916, at *2 (N.D. Cal.) (rejecting bifurcation of antitrust claim where Plaintiffs alleged a

“global conspiracy” under Continental Ore); United States v. Warner, 2006 WL 2583722, at *26

(N.D. Ill. Sept. 7, 2006), aff’d, 498 F.3d 666 (7th Cir. 2007) (denying bifurcation where single

overarching conspiracy alleged).

           A. THE SPLITTING OF COUNT ONE INTO THREE SEPARATE CLAIMS
              WOULD VIOLATE CONTINENTAL ORE

       One of the “paramount policies” embedded in the Federal Rules of Civil Procedure is that

the plaintiff is “the master of the complaint.” Caterpillar Inc. v. Williams, 482 U.S. 386, 398-99

(1987). As such, plaintiffs “may include (or omit) claims” in the complaint, Garbie v. Daimler

Chrysler Corp., 211 F.3d 407, 410 (7th Cir. 2000), and what is included “control[s] the litigation.”

Jass v. Prudential Health Care Plan, Inc., 88 F.3d 1482, 1486 (7th Cir. 1996). As explained above,

the primary claim brought by Chick-fil-A and all DAPs is that the Defendants orchestrated a single

overarching conspiracy to raise prices during the relevant time period.          This multi-faceted

conspiracy was carried out through various means, some of which included the conduct referenced

by the Court but also included much more than just that. The Court does not directly address the

existence of Count One in its May 27 Order, however, and the language used by the Court suggests

that it views the case as essentially comprised of three “separate” conspiracies or claims, which


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can be neatly separated into three separate boxes. While this is certainly how Defendants have

attempted to brand and label DAPs’ claims, it is not what DAPs pled in Count One.

       Nor does it account for all the other facets of the conspiracy alleged in Count One. For

example, it does not acknowledge the “competitively sensitive information exchange,” “strategic

alliance,” “Buy vs. Grow,” “foreign export” and “fixed-price contract transition” aspects of the

conspiracy, or how these aspects of the conspiracy inter-related with other aspects of the

conspiracy.    This raises additional questions.       If Count One could be split into separate

conspiracies, are each of these facets also separate conspiracies and, if so, how many separate

conspiracies are there and how does the Court draw the line between which conspiracies are part

of the same conspiracy or not?

       Any analysis of how to address the claims in this case must therefore start with Count One.

See Mizuho, 341 F.3d at 651 (“We begin with the language of the complaint, following the rule

that the plaintiff is the master of its own litigation.”). As a single overarching conspiracy, albeit a

“multi-faceted” one, Count One is a unitary cause of action. Consequently, Chick-fil-A continues

to believe that Continental Ore precludes it from being sliced up into sub-conspiracies and

analyzed separately as different claims. This is because, for purposes of Count One, what the

Court characterizes as the supply restriction, Georgia Dock, and bid-rigging “claims” are not really

claims at all. Nor are they “separate.” As pled in Count One, they are simply different means—

and not even the exclusive means—by which the overarching conspiracy was allegedly conducted

over a lengthy period of time. See Bifurcation Order at 7 (“all three claims are means to the same

end of manipulating Broiler prices”). As such, the factual allegations regarding such conduct—

including bid-rigging—serve as evidence of that overarching conspiracy, not as separate claims in

and of themselves.



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       This is why Continental Ore squarely applies. By parsing and transforming the evidence

offered in support of the single overarching conspiracy alleged in Count One into “three separate

claims,” the Court is treating the factual allegations and evidence of conduct supporting Chick-fil-

A’s (and other DAPs’) unitary conspiracy claim “as if they were … completely separate and

unrelated lawsuits.” 370 U.S. at 698. But, as the Court clarified in Continental Ore, “the character

and effect of a conspiracy are not to be judged by dismembering it and viewing its separate parts.”

Id. at 699. For purposes of Count One, the conspiracy is unitary and, if the Court were to break it

apart for discovery, summary judgment, and trial, it would be doing exactly what Continental Ore

forbids. There would be no way for Chick-fil-A to “be given the full benefit of its proof” on Count

One at summary judgment and trial if the Court not only “tightly compartmentaliz[es] the various

factual components” in its analysis, id., but also goes further and builds that compartmentalization

into the structure and trial of the case itself through bifurcation. Accordingly, while the Court has

discretion to bifurcate issues under Rule 42, it cannot bifurcate in a way that would violate

Continental Ore. See, e.g., Advanced Microtherm, Inc., 2009 WL 2136916 at *3 (rejecting

bifurcation of antitrust claim as inappropriate where Plaintiffs alleged a “global conspiracy” under

Continental Ore).

       For Count One, the Supreme Court and the Seventh Circuit have both emphasized that the

jury will need to consider all the evidence, including not just the three groups of factual allegations

identified by the Court but all the other factual allegations as well, and then determine whether,

taken together, the evidence is sufficient. In conducting this analysis, Judge Posner’s often-quoted

admonition about the “traps to avoid” in assessing antitrust conspiracy evidence becomes

prescient:

               The second trap to be avoided in evaluating evidence of an antitrust
               conspiracy . . . is to suppose that if no single item of evidence


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               presented by the plaintiff points unequivocally to conspiracy, the
               evidence as a whole cannot defeat summary judgment. It is true that
               zero plus zero equals zero. But evidence can be susceptible of
               different interpretations, only one of which supports the party
               sponsoring it, without being wholly devoid of probative value for
               that party. Otherwise what need would there ever be for a trial? The
               question for the jury in a case such as this would simply be whether,
               when the evidence was considered as a whole, it was more likely
               that the defendants had conspired to fix prices than that they had not
               conspired to fix prices.

In re High Fructose Corn Syrup Antitrust Litig., 295 F.3d 651, 655-56 (7th Cir. 2002). In other

words, for purposes of Count One, it is conceivable that the jury might not find sufficient evidence

to establish standalone liability for one or more of the three conspiracies identified by the Court if

they were presented alone, but that the evidence taken together will be enough for a jury to

conclude that a single overarching conspiracy existed.

       For example, while the Court stated that “it does not appear that Continental Ore or any of

the other cases Chick-fil-A cites concerned a multi-faceted conspiracy like this case,” the Seventh

Circuit’s decision in Fontana involved what was expressly characterized as a “multi-faceted

conspiracy.” May 27 Order at 3. In that context, the Seventh Circuit held that even if some of the

supporting factual allegations may have been “weakened individually” by conflicting evidence

presented at summary judgment, “there may be some vitality left in them when considered as parts

of the whole conspiracy as alleged.” Fontana Aviation, Inc. v. Cessna Aircraft Co., 617 F.2d 478,

481 (7th Cir. 1980) (citing Continental Ore and reversing and remanding summary judgment

decision). Indeed, numerous courts have denied summary judgment on antitrust conspiracy claims

on this basis, including many that have relied on the Seventh Circuit’s decision in High Fructose

Corn Syrup to do so. See, e.g., In re Flat Glass Antitrust Litig., 385 F.3d 350, 357 (3d Cir. 2004)

(reversing summary judgment and instructing that “a court must look to the evidence as a whole

and consider any single piece of evidence in the context of other evidence.”); In re Titanium


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Dioxide Antitrust Litig., 959 F. Supp. 2d 799, 809 (D. Md. 2013) (denying summary judgment

based on consideration of evidence as a whole and citing In Re High Fructose); In re Ethylene

Propylene Diene Monomer (EPDM) Antitrust Litig., 681 F. Supp. 2d 141, 178 (D. Conn. 2009)

(same); In re Linerboard Antitrust Litig., 504 F. Supp. 2d 38, 54 (E.D. Pa. 2007) (same); In re

Vitamins Antitrust Litig., 320 F. Supp. 2d 1, 14 (D.D.C. 2004) (same).

       The existence of Count One is therefore critical to the answer to the Court’s question

whether it is possible for Chick-fil-A and other DAPs to prevail if the evidence were insufficient

to demonstrate a supply reduction conspiracy, a Georgia Dock conspiracy, and a bid-rigging

conspiracy. If there were no Count One, and all Chick-fil-A and other DAPs pled were separate

counts based on each of the three conspiracies identified by the Court, then the answer to the

Court’s question would be no. But that is not how the case has been pled. See Gibson v. City of

Chi., 2021 WL 2127182, at *2 (N.D. Ill. Apr. 6, 2021) (rejecting bifurcation because plaintiff “is

the master of his complaint and has chosen to pursue” two separate, but related claims). Indeed,

because Chick-fil-A has brought a single overarching conspiracy claim, which includes the

supporting evidence mentioned above and voluminous other evidence as well, the question is not

whether “evidence of bid rigging is relevant to or necessary to prove a supply reduction conspiracy

or a Georgia Dock conspiracy,” May 27 Order at 3, but whether all of the evidence, taken together,

establishes a single overarching conspiracy to raise prices. See In re High Fructose Corp Syrup

Antitrust Litig., 295 F.3d at 655-56.

       The Court is correct, of course, that Continental Ore addressed an appellate court’s review

of a district court opinion and not review of a district court’s discovery rulings or trial structure

decisions. But, as this Court has previously recognized, Continental Ore “focuses on the use of

evidence.” U.S. Futures Exchange, LLC, 346 F. Supp. 3d at 1249. The discovery standard is,



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however, tied to (and significantly broader than) the evidentiary standard. Fed. R. Civ. P. 26(b)(1).

If evidence is relevant under Continental Ore for summary judgment purposes, then it must also

be relevant for discovery purposes. For that reason, numerous courts presiding over antitrust

conspiracy cases have held that the Continental Ore principle applies to discovery just as much as

it does to summary judgment and trial. See, e.g., In re Cathode Ray Tube (CRT) Antitrust Litig.,

2014 WL 12647877, at *4 (N.D. Cal. Aug. 20, 2014) (“If ‘compartmentalizing’ an alleged

conspiracy at trial or on summary judgment motion is not appropriate, still less is it appropriate in

discovery.”); In re Vitamins Antitrust Litig., 2001 WL 1049433, at *11 (D.D.C. June 20, 2001)

(explaining relevance of Continental Ore to discovery).

            B. THE DISMEMBERMENT OF COUNT ONE THROUGH BIFURCATION
               VIOLATES THE SEVENTH AMENDMENT

       Another important limitation on the Court’s discretion to bifurcate cases is the Seventh

Amendment. The text of Rule 42(b) expressly addresses this limitation, and the Seventh Circuit

has reinforced that bifurcation “must not be granted if doing so would violate the Seventh

Amendment.” Houseman, 171 F.3d at 1121. The bifurcation order, however, violates the Seventh

Amendment in two significant ways.

       First, the Seventh Amendment guarantees the right to a jury trial, but the bifurcation order

deprives Chick-fil-A and other DAPs of the opportunity to ever have a jury trial on Count One and

instead limits certain DAPs to a bifurcated trial of their alternatively pled claims. This would be

the equivalent of a de facto grant of dismissal or summary judgment on Count One—the primary

count brought by Chick-fil-A and other DAPs—without discovery or even requiring a motion from

Defendants. For those DAPs who only pled Count One, such as the Conagra Plaintiffs, 20 it would


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          The “Conagra Plaintiffs”—Conagra Brands, Inc., Kraft Heinz Foods Company, Nestlé USA Inc.,
Pinnacle Foods, Inc., and Nestlé Purina PetCare Company—filed a joinder to Chick-fil-A’s motion for this
very reason. See ECF No. 4655.

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be the end of their case. This raises not only Seventh Amendment issues but due process issues

under the Fourteenth Amendment as well. For that reason, numerous courts in this district have

repeatedly rejected bifurcation where it would effectively result in a dismissal of the bifurcated

claim. See, e.g., Maysonet v. Guavara, 2020 WL 3100840, at *5 (N.D. Ill. June 11, 2020) (denying

bifurcation where it was “essentially a means ‘to achieve a de facto dismissal’”); Cadiz v. Kruger,

2007 WL 4293976, at *10 (N.D. Ill. Nov. 29, 2007) (denying bifurcation because, if accepted,

bifurcation would allow Defendants “to avoid the merits” of bifurcated claim).

       The means by which the Court accomplishes bifurcation also creates Seventh Amendment

issues insofar as it usurps the fact-finding role of the jury. The Court’s stated rationale for

bifurcation is that there are three separate claims and each of them “are illegal in-and-of

themselves.” May 27 Order at 2. But the question whether there is one single overarching

conspiracy or three separate conspiracies is a quintessential jury question. As the Seventh Circuit

has repeatedly held in an analogous context, “whether a single conspiracy exists is a question of

fact; consequently the jury gets first crack at deciding whether there is one conspiracy or

several.” U.S. v. Magana, 118 F.3d 1173, 1188 (7th Cir. 1997).

       Second, the bifurcation order also violates the second clause of the Seventh Amendment.

The so-called Re-examination Clause provides that “no fact tried by a jury, shall be otherwise re-

examined.” U.S. Const. Amend. VII. The Seventh Circuit has interpreted this provision to mean

that “questions in a single suit can only be tried by different juries if they are ‘so distinct and

separable from the others that a trial of them alone may be had without injustice.’” Houseman,

171 F.3d 1126 (quoting Gasoline Products Co. v. Champlin Refining Co., 283 U.S. 494, 500

(1931)). This means that a court “must not divide issues between separate trials in such a way that

the same issue is reexamined by different juries.” Id. While both juries can examine overlapping



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evidence, they “may not decide factual issues that are common to both trials and essential to the

outcome.” Id.

       The seminal case in the Seventh Circuit on this issue is In re Rhone-Poulenc Rorer, Inc.,

51 F.3d. 1293 (7th Cir. 1995).        Rhone-Poulenc involved a certified liability-only class of

hemophiliacs suing the manufacturers of a concentrate that allegedly caused them to contract the

HIV virus. The district court planned to try the negligence issues first and then allow for individual

class members to file lawsuits across the country to decide proximate causation and comparative

negligence issues, with the initial negligence finding given collateral estoppel effect. On a writ of

mandamus, however, the Seventh Circuit held that the district court had exceeded its authority and

decertified the class based in part on Seventh Amendment concerns. Specifically, the Court held

that the district court’s trial plan was “inconsistent with the principle that the findings of one jury

are not to be reexamined by a second, or third, or nth jury.” Id. at 1303. Because the first jury

“will not determine liability,” but only negligence, it would be left to other juries to decide the

overlapping and inter-related issue of comparative negligence and causation. Id. Because of the

intertwined nature of the issues, the Seventh Circuit held that there was a serious risk of

inconsistent verdicts among the different juries, which would violate the Seventh Amendment.

       The Court’s bifurcation order here raises similar concerns.            The current trial plan

contemplates the supply restriction and Georgia Dock aspects of the conspiracy going to trial

sometime in 2023. The second “bid-rigging” phase of the case is currently stayed and will not

even begin until the associated claims of all three classes and all 140+ DAPs “are resolved.”

Bifurcation Order at 7. As a practical matter, this seems to mean that it will be years between the

first and second trial and that a different jury would have to be empaneled for the second trial. If

so, it is impossible to avoid the Rhone-Poulenc problem. As the Court has already acknowledged,



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there is no “material difference” in the relationship between what it characterizes as the three

claims and, importantly, the Court has held that “factual findings” regarding any one of them

“will undoubtedly impact the others.” Bifurcation Order at 4. As such, because both juries would

have to decide essentially the same factual issues, thereby creating a substantial risk of inconsistent

findings, the Seventh Amendment serves as a bar to bifurcation. See Houseman, 171 F.3d at 1126

(second jury “may not decide factual issues that are common to both trials and essential to the

outcome”); see also Danjaq LLC v. Sony Corp., 263 F.3d 942, 962 (9th Cir. 2001) (“[W]hen the

evidence is intertwined . . . the district court must take care not to impinge on the right to a jury”

(citing Ross v. Bernhard, 396 U.S. 531, 537-38 (1970)).

         For example, one of the key issues at trial will be, as it was in Phone-Poulenc, causation.

Specifically, why were broiler chicken prices rising during the relevant time period? Chick-fil-A

alleges that it was due to a conspiracy amongst Defendants to raise prices. Defendants will

undoubtedly argue, as they have in opposition to class certification, that it was due to external

market factors, such as new renewable fuel standards, the Great Recession, and skyrocketing corn

prices. 21 Importantly, however, the conspiracy conduct characterized by the Court as three

separate claims largely overlapped and occurred during the same time period. As a result, if Count

One is bifurcated, and some aspects of the single overarching conspiracy are tried in the first phase

and then other aspects of that same conspiracy are discovered and tried as part of a second phase,

there would be a significant risk that the juries could reach inconsistent findings. For example, the

jury could decide in the first phase that prices rose during the relevant time period due solely to

external market factors. But, in a second trial, the jury would be asked the same question: why did

prices rise during the relevant time period? If a second jury were then to decide that it was actually


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              See Defs. Opp. to Direct Purchaser Pls.’ Mot. for Class Cert., ECF No. 4210 at 1, 12-19 (Jan. 22,
2021).

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not external market factors, but rather “bid rigging” conduct or some other aspect of the

conspiracy, there would be two inconsistent verdicts, including one in which the second jury re-

examined and corrected the first jury. As the Seventh Circuit made clear in Rhone-Poulenc, the

Seventh Amendment does not allow that. Rhone-Poulenc, 51 F.3d at 1303 (“How the resulting

inconsistency between juries could be prevented escapes us.”); see also In re Lower Lake Erie Iron

Ore Antitrust Litig., 998 F.2d 1144, 1182 (3d Cir. 1993) (reversing and ordering new trial in

bifurcated antitrust case where causation issues were put before two different juries in “clear

violation of the Seventh Amendment”).

       Finally, even if it did not rise to the level of a Seventh Amendment violation, “piecemeal

litigation is not favored and bifurcation is inappropriate in cases where the facts are so inextricably

interwoven that separation is impossible or at least manifestly unfair.” Vill. of Stillwater v. Gen.

Elec. Co., 2010 WL 4025601, at *3 (N.D.N.Y. Oct. 13, 2010) (citations omitted). Numerous courts

in this district have denied bifurcation on this basis. See, e.g., Ortega v. United States, 2017 WL

3841632, at *5 (N.D. Ill. Aug. 31, 2017); Trading Techs. Int’l, 431 F. Supp. 2d at 841; Lucas v.

Vee Pak, Inc., 2014 WL 12932245, at *2 (N.D. Ill. Nov. 13, 2014); Cima v. WellPoint Health

Networks, Inc., 2008 WL 746916, at *4 (S.D. Ill. March 18, 2008); Clintec Nutrition Co. v. Aboott

Labs, 1995 WL 228988, at *5 (N.D. Ill. Apr. 14, 1995).

       There can be no doubt that this case falls within the “extensive overlap” and “inextricably

intertwined” line of cases. Indeed, in its bifurcation order, the Court already determined that there

is “a substantial relationship” between all of the aforementioned aspects of the conspiracy and that

they are “closely related” such that “legal rulings, factual findings or settlements regarding any of

the claims will undoubtedly impact the others.” Bifurcation Order at 4, 5, 7. The DOJ has likewise

publicly acknowledged that there is “overlap” in the civil and criminal cases. Gov’t’s Mot. for



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Alternative Victim Notification, U.S. v. Jayson Penn, et al., 20-CR-152-PAB (D. Colo.) (Oct. 6,

2020), ECF No. 73. As a result, the Court correctly determined that there is “extensive overlap”

and that discovery for all three is “thoroughly intertwined in terms of the scope of relevant

documents, custodians, and deponents.” Bifurcation Order at 4. These prior findings, taken

together, counsel strongly against bifurcation. See, e.g., Charles A. Wright, et al., Federal Practice

& Procedure (3d ed.) § 2388 Separate trials—Discretion of Court (noting that if the separate trial

of an issue will involve “substantially the same facts or witnesses as the other issues in the case . .

. it is likely that a separate trial on that issue will be denied by the district judge, as the many cases

cited in the note below indicate”). See also Marshbanks v. City of Calumet City, 2015 WL

1234930, at *5 (N.D. Ill. Mar. 16, 2015) (denying bifurcation where it “would result in two trials

that would most likely involve many of the same witnesses and evidence”).

        C.      Chick-fil-A Would Be Significantly Prejudiced If The Bifurcation Order Is
                Not Partially Reconsidered

        The final Houseman factor—prejudice—is the “most important consideration.” Real, 195

F.R.D. at 621. The Court did not consider potential prejudice to either party in the bifurcation

order, but the prejudice to Chick-fil-A and other DAPs is significant and tips the scales decisively

towards partial reconsideration. Batchelor, 2021 WL 825607 at *4 (granting reconsideration of

prior bifurcation order where certain pleadings and issues were not considered in previous

decision).

        First, as noted above, Chick-fil-A and other DAPs are prejudiced by the de facto grant of

summary judgment to Defendants on Count One. Indeed, if Chick-fil-A and other DAPs are never

allowed to present their evidence regarding Count One to a jury due to the bifurcation order, the

resulting prejudice would be severe and, as noted above, raise significant constitutional questions.




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        Second, the combined effect of bifurcation and the corresponding stay of “bid rigging”

discovery “until the supply reduction and Georgia Dock claims are resolved” means that such

discovery would likely not even begin until sometime in 2023 at the earliest, which likely means

that the second phase trial would not likely occur until at least 2025 (and even this timeline is

optimistic). As such, the associated delay would result in unavoidable prejudice. Real, 195 F.R.D.

at 624 (“An unreasonable delay in a case’s resolution amounts to prejudice to the one opposing

separation. It is clearly not in the public interest.”). During that indefinite, years-long delay, it is

inevitable that key witnesses relevant to the bifurcated claim will become unavailable, memories

will fade, and potential evidence could be lost. See, e.g., Gibson, 2021 WL 2127182 at *2 (N.D.

Ill. Apr. 6, 2021) (denying bifurcation because “with memories fading and witnesses becoming

unavailable as time passes . . . further delay would prejudice Gibson”); Krueger Int’l, Inc. v. Fed.

Ins. Co., 647 F. Supp. 2d 1024, 1042 (E.D. Wis. 2009) (same). This delay exacerbates the

prejudice to Chick-fil-A and other DAPs and “cannot be remedied except by denying separate

trials.” Real, 195 F.R.D. at 621.

        Third, numerous courts in this district have recognized that bifurcation will inevitably “add

unnecessary complexity to the discovery process by instigating disputes over whether discovery

requests fall within the scope” of the bifurcated claims. Rodriguez v. City of Chi., 2018 WL

3474538, at *3 (N.D. Ill. July 19, 2018). See also Rodriguez v. City of Chi., 429 F. Supp. 3d 537,

544 (N.D. Ill. 2019) (noting that this observation is “amply supported by case law”). Such disputes

“burden the Court time-wise, and unduly increase the costs of litigation for both parties.” THK

America, Inc., 151 F.R.D. at 633.

        In the nine months since the bifurcation order was entered, this is exactly what has

happened. See Transcript of May 24, 2021 Hearing at 45 (Magistrate Judge Gilbert acknowledging



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testimony. As noted earlier, one of the key questions for the jury to consider will be what caused

prices to rise during the relevant time period. To properly make that determination, both parties’

experts will need to conduct regression analyses that includes all known variables that could

potentially affect the price of chicken. But for one potentially significant variable—the scope and

effects of any alleged “bid rigging”—they would be conducting this analysis blind and without the

benefit of discovery. As a result, Defendants will inevitably use this judicially created blind spot

regarding an important variable to attack the experts’ analyses. Indeed, to partially help protect

against this scenario, DAPs requested that Defendants agree to stipulate that they would not use

the Bifurcation Order and the corresponding absence of big-rigging evidence against the DAPs.

Tellingly, Defendants refused.

        Finally, the prejudice to Chick-fil-A and other DAPs cannot be cured by allowing evidence

of bid-rigging conduct under Rule 404(b) in a first, bifurcated trial focused on supply restriction

and Georgia Dock conduct. As an initial matter, there is no recognized Rule 404(b) exception to

Continental Ore or the Seventh Amendment that allows courts to split apart unitary conspiracy

claims. Indeed, Chick-fil-A does not seek to offer evidence of the Defendants’ bid-rigging conduct

as evidence of “other crimes, wrongs, or acts”; for purposes of Count One, such evidence is part

of the same crimes, wrongs, or acts and both Continental Ore and the Seventh Amendment

requires the evidence to be considered together. 23 But, even if that were not the case, the question


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            The existence of one facet of a single-overarching conspiracy is highly relevant to whether
another facet likewise occurred, thereby further underscoring the intertwined nature of the factual
allegations and evidence, for many reasons. For example, if the Defendants conspired with respect to one
facet of the conspiracy, it suggests that they found conspiring to be profitable given market conditions, their
collective market power, their incentives to cheat, and their ability to discipline cheating, and thus they are
more likely to have made similar calculations on other facets of the conspiracy in the same market. In
addition, it is easier for conspirators to extend illegal relationships or other illegal activities than to create
new illegal relationships and, as such, the existence of one facet of a conspiracy can often help to enforce
other facets because conspirators can threaten to expose one facet unless co-conspirators cooperate with the
other facets. Similarly, some facets of conspiracies can make other facets of conspiracies easier to maintain.

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whether to admit evidence under Rule 404(b) would first require the Court to allow Chick-fil-A

and other DAPs to meaningfully pursue such evidence in discovery. 24 And, if the Court is going

to allow such discovery, any efficiency justification for bifurcation disappears.

        Similarly, the bifurcation order was premised on the legitimate concern that the “bid

rigging” allegations were new and that the existing allegations were much more advanced and, as

a result, the Court believed that bifurcating and staying discovery on this aspect of the conspiracy

was the best option for continuing to move the case along, even if it necessarily entailed significant

overlap. But it is hard to see how bifurcation will actually accomplish that. The primary cause of

action asserted by all DAPs is Count One and, if the case were to continue along with the current

schedule to summary judgment, the Court would not even be able to rule on Count One. Indeed,

if Defendants move for summary judgment on Count One, Rule 56(d) would prevent the Court

from addressing that count until bid rigging discovery is first obtained. 25 Thus, whether “bid

rigging” discovery is bifurcated and stayed or not, the Court will not be able to address the primary

cause of action in the case until “bid rigging” discovery is completed.


Consequently, one facet of a conspiracy often only makes sense when considered together with other facts,
which is exactly the rationale underlying Continental Ore.
         24
            The Court requested that, if “Chick-fil-A and other plaintiffs want to discover evidence of bid
rigging in order to use it in a supply reduction or Georgia Dock trial under Federal Rule of Evidence 404(b),
they should state so, and allow the Court and the parties to address that argument directly.” May 27 Order
at 3. As noted above, Chick-fil-A does not believe that its claims can be split consistent with Continental
Ore and the Seventh Circuit’s Houseman analysis. But, if the Court were to nonetheless split the claims
regardless, then the answer to the Court’s question would be yes. Chick-fil-A believes it would be
premature to address any evidentiary rulings, however, and if the parties were to go down this path they
would need to first contemplate lifting the current stay of discovery to determine what Rule 404(b) evidence
may exist that they would want to submit as Rule 404(b) evidence at trial.
         25
            If Defendants moved for summary judgment on Count One, Chick-fil-A and other DAPs would
be forced by bifurcation to respond pursuant to Rule 56(d) because the stay of “bid-rigging” discovery
would mean that they would be unable to present certain facts essential to justify their opposition to the
motion directed at Count One. See Fed. R. Civ. Proc. 56(d). This would then likely result in the Court
having to defer the motion to allow DAPs time to take the necessary discovery. See Smith v. OSF
HealthCare System, 933 F.3d 859, 865-71 (7th Cir. 2019) (reversing denial of Rule 56(d) motion because,
with “such high stakes,” plaintiffs “are entitled to conduct meaningful discovery before the courts decide
legal issues”).

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       For all of these reasons, any minimal judicial economy gains from continuing bifurcation

are outweighed by the significant prejudice that Chick-fil-A and other DAPs would suffer. While

Chick-fil-A understands and appreciates the Court’s desire to keep the case moving forward

towards trial, there are better alternatives to addressing the Court’s case management concerns that

will not effectively eliminate Chick-fil-A’s and other DAPs’ primary cause of action and force

Chick-fil-A and some other DAPs to try only their alternatively pled claims.

II.    THE BEST WAY TO ADDRESS THE COURT’S CONCERNS IS PARTIAL
       RECONSIDERATION AND A SLIGHTLY MODIFIED TRIAL PLAN

       Chick-fil-A understands and shares the Court’s desire for a creative solution to the case

management difficulties presented by this complex and challenging case. But any solution needs

to comply with both Continental Ore and the Seventh Amendment and avoid significant prejudice

to Chick-fil-A and other DAPs. To that end, it is important to emphasize that Chick-fil-A is only

requesting partial reconsideration. This is because there is a way to address the Court’s desire to

move the case along while avoiding the problems associated with the bifurcation order.

       The Classes and a certain subset of DAPs, such as the Certain Grocer DAPs, have stated

that they are prepared to move forward on the current schedule towards a bellwether trial in early

2023 that would be focused on supply restriction and Georgia Dock allegations. Both the Classes

and those DAPs have been in the case for a long time and are prepared to go to trial without the

“bid rigging” evidence that some other DAPs, especially restaurant DAPs named in the DOJ’s

Superseding Indictment such as Chick-fil-A, desire to prove their cases. If the Court were to adopt

this approach, a significant piece of the consolidated cases would continue to move forward just

as the Court intended with the bifurcation order. This would be Track One.

       The DAPs that need to try all elements of their conspiracy together under Continental Ore

could then proceed on a separate discovery track and schedule to be negotiated with Magistrate


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Judge Gilbert. This would be Track Two. The current schedule for discovery regarding “supply

reduction” and “Georgia Dock” issues would still apply to all parties and, once discovery is closed

on those issues, it will be closed for all the current parties. 26 As part of Track Two, however, the

non-bellwether DAPs would then begin “bid rigging” discovery following the DOJ criminal trial

this fall, 27 and then proceed into expert discovery and summary judgment with that evidence,

which will position the Court to be able to rule on Count One for the non-bellwether DAPs sooner

than it would under the current schedule. If so, the non-bellwether DAPs should be able to

complete this discovery early enough to allow for trial on all allegations in Count One following

the bellwether trial in early 2023.

        Chick-fil-A’s request is therefore relatively modest. In essence, rather than forcing the

non-bellwether DAPs who need to try all elements of their alleged conspiracy together into expert

discovery and summary judgment with the classes and bellwether DAPs and then waiting an

extended period of time for the first phase of the case to be “resolved” before they could access

“bid rigging” discovery, Chick-fil-A believes that the approach outlined above would require only

two modifications to the current structure of the case. First, the dates for expert discovery and

summary judgment for the non-bellwether DAPs would be deferred until after they obtain “bid

rigging” discovery. This avoids the prejudice to DAPs outlined above and positions the Court to


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            The only potential exceptions would need to be for DAPs that enter the case in the future, who
may have a need for individualized discovery. But common discovery on the “supply reduction” and
“Georgia Dock” aspects of the case would be closed and Magistrate Judge Gilbert could address any
individualized discovery issues with later-filing DAPs as they come up, just as he is currently doing.
         27
            The Federal Judicial Center has observed that “a general stay of all activities in the civil litigation
pending completion of the criminal case will rarely be appropriate,” Fed. Jud. Center, Manual for Complex
Litigation (Fourth) at 525. If a stay of all activities pending a criminal case is rarely appropriate, a broader
stay until both the DOJ criminal case and a bellwether trial focused on “supply restriction” and “Georgia
Dock” issues is even less so. Nonetheless, Chick-fil-A does not object to waiting until the DOJ criminal
trial ends to require Defendants to produce documents and depositions relating to “bid rigging” evidence.
In the interim, Chick-fil-A believes that the parties can complete discovery on the supply reduction and
Georgia Dock evidence and begin to negotiate custodians, search terms and other preparatory discovery
items on the “bid rigging” evidence.

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be able to rule on Count One without running into Rule 56(d) issues. Second, the stay on “bid

rigging” discovery would be lifted following the DOJ criminal trial, rather than waiting an

indefinite period of time for the Classes and any bellwether DAPs to “resolve” their cases. This

approach is consistent with the Manual for Complex Litigation and would allow for a non-

bellwether DAP trial as part of Track Two following shortly after the bellwether trial. In this way,

the current bifurcated approach to discovery could be maintained, but in a modified form that

complies with Rule 42 as well as Continental Ore and Houseman.

        This proposed dual structure would promote and enhance judicial economy. The Court

would be able to sequence and focus its energies on a more manageable set of pleadings and issues

in the short term—the pending motions for class certification, which has already been set for an

evidentiary hearing, and summary judgment and Daubert motions in the class and bellwether DAP

cases—as part of Track One. At the same time, Magistrate Judge Gilbert will be able to focus on

separately managing Track Two discovery regarding “bid rigging” evidence in a cleaner and more

streamlined manner. This also has the added benefit of building flexibility into the schedule for

managing future DAPs, which are inevitable and are highly likely to also include “bid rigging”

evidence. Finally, this dual structure would allow for a quicker and more efficient resolution of

all DAP cases consistent with due process.

        Numerous courts have utilized this multi-track system to effectively manage complex

litigation across the country involving different classes of plaintiffs in varying procedural postures

and it would be especially effective in dealing with the unique challenges here fairly and

efficiently. See, e.g., In re Generic Pharms. Pricing Antitrust Litig., 315 F. Supp. 3d 848, 854-55

(E.D. P.A. 2018) (granting motion for separate track within same case for different class of

plaintiff).   As Magistrate Judge Gilbert recently noted, it also has the virtue of providing



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Defendants with essentially the same separate discovery track and schedule that they previously

requested when they sought severance, but within the same case for the reasons that the Court has

already determined, thereby “simplify[ing] things” and “solving some of the problems here.” See

Transcript of May 24, 2001 Hearing at 45-46. 28

        Finally, even if the Court is not completely persuaded that Continental Ore and the Seventh

Amendment preclude bifurcation, partial reconsideration as outlined above is still the most prudent

approach. At a minimum, the current structure creates the risk the Court inadvertently builds a

structural legal error into the case that, if Chick-fil-A is correct, may require the Court to go back

to square one many years from now. See In re Lower Lake Erie Iron Ore Antitrust Litig., 998 F.2d

1144, 1182 (3d Cir. 1993). The potential error cost associated with such a high-stakes ruling are

thus very high in a case of this complexity. It is thus wiser and easier to make a slight modification

to the structure and schedule of the case now than to try and fix a potential foundational error years

later. The interests of judicial economy, therefore, are best served by partial reconsideration now.




28
   Magistrate Judge Gilbert’s full observation was as follows: “When I went back and thought about, you
know, how you got here to some extent in the September 2020 order, the defendants adamantly opposed
adding the bid-rigging claims to the existing case, and Judge Durkin decided differently. But had defendants
won that battle and the bid-rigging cases had been filed in separate cases in some other district or even here,
they would be on a separate track anyway, and those two cases probably would not be tried together anyway.
So defendants had opposed adding the bid-rigging claims to this case, but had you won that, you might
have been in the same situation that I'm at least hypothesizing could solve some problems here. It could
also solve problems with respect to the discovery disputes that I know are brewing with respect to whether
something is bid-rigging discovery or Georgia Dock discovery. … it seems to me that if the first group of
cases that got tried were class and certain grocer bellwethers on the Georgia Dock claim and summary
judgment motions were filed on that, the supply reduction and Georgia Dock claims, and you went through,
you know, experts and summary judgment on that, that’s the case that has been – was filed in 2016 and, as
Judge Durkin said in his September 2020 order, should be allowed to pursue. And that could provide clarity,
it could simplify things. I recognize that defendants end up trying two cases, but you were going to try two
cases anyway; one was bid-rigging and another was Georgia Dock, and now they're a party [sic] to the case
so you can't really separate them.”

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                                        CONCLUSION

       For all the foregoing reasons, Chick-fil-A respectfully requests that the September 22, 2020

Order and the Magistrate Judge’s May 7 and May 13, 2021 Orders be partially reconsidered and

modified as outlined above.

Dated: June 18, 2021                         /s/ Ryan P. Phair

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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 18th day of June, 2021, I caused a true and correct copy of the

foregoing document to be served upon all counsel of record via the Court’s CM/ECF system.

                                                     /s/ Ryan P. Phair
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